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                           SO ORDERED: August 21, 2019.




                           ______________________________
                           James M. Carr
                           United States Bankruptcy Judge




                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  IN RE:                                            )
                                                    )
  JOHN CHRISTOPHER TULLAR and                       ) CASE NO. 19-00284-JMC-13
  AMANDA ANN TULLAR,                                )
                                                    )
  DEBTOR.

                                   ORDER CONFIRMING PLAN

     The debtor’s plan, or amended plan, having been filed on January 16, 2019, and having been
  transmitted to creditors; and
     The trustee, after having conducted a meeting of creditors, has reported to the Court as
  follows:
     1. That the plan complies with provisions of Chapter 13 and with other applicable provisions
        of the Bankruptcy Code;
     2. That any fee, charge or amount required to be paid by the Code or the plan prior to
        confirmation has been paid;
     3. That the plan has been proposed in good faith and not by any means forbidden by law;
     4. That the value, as of the effective date of the plan, of property to be distributed under the
        plan on account of each allowed unsecured claim is not less than the amount that would be
        paid on such claim if the estate of the debtor were liquidated under chapter 7 of the
        Bankruptcy Code on such date;
     5. That each holder of an allowed secured claim provided for by the plan: a) has accepted the
        plan; b) the plan provides that the holder of such claim retain the lien securing such claim
        until the earlier of the payment of the underlying debt determined under nonbankruptcy
        law or discharge under section 1328, and if the case under this chapter is dismissed or
        converted without completion of the plan, such lien shall also be retained by such holder to
        the extent recognized by applicable nonbankruptcy law; further, the value, as of the
        effective date of the plan, of property to be distributed under the plan on account of such
        claim is not less than the allowed amount of such claim; and if property to be distributed to
        a lender holding a lien on debtor’s personal property is in the form of periodic payments,
        such payments shall be in equal monthly amounts and the holder of such claim secured by
        personal property shall receive a payment level not less than an amount sufficient to
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          provide to the holder of such claim adequate protection during the period of the plan; or c)
          the debtor shall have surrendered the property securing such claim to such holder.
    6.    That the debtor will be able to make all payments under the plan and to comply with the
          plan;
    7.    That the action of the debtor in filing the petition was in good faith;
    8.    If applicable, a finding has been made on the record, or by affidavit, that the debtor has
          paid all amounts that are required to be paid under a domestic support obligation and that
          first become payable after the date of the filing of the petition if the debtor is required by a
          judicial or administrative order, or by statute, to pay such domestic support obligation; and
    9.    That the debtor has filed all applicable federal, state and local tax returns as required by
          section 1308, as verified on the record or by affidavit; and
    10.   That if the trustee or the holder of an allowed unsecured claim objected to the confirmation
          of the plan, then the Court did not approve the plan unless, as of the effective date of the
          plan—the value of the property to be distributed under the plan on account of such claim is
          not less than the amount of such claim; or the plan provided that all of the debtor’s
          projected disposable income to be received in the applicable commitment period beginning
          on the date that the first payment is due under the plan will be applied to make payments to
          unsecured creditors under the plan; and the “disposable income” test and related
          confirmation mandates of section 1325(b)(2), (b)(3)
          and (b)(4) have been met.
    11.   Property of the estate shall revest in the debtor upon entry of this confirmation order,
          subject to the rights of the trustee, if any, to assert claim to any additional property of the
          estate acquired by the debtor post-petition pursuant to operation of 11 U.S.C. 1306.

          And the trustee, having reported to the Court and having recommended confirmation of
          debtor’s plan, the Court now adopts the trustee’s report and, therefore,

          ORDERS that the debtor’s plan be, and the same is hereby confirmed; and it is further

          ORDERED that the trustee shall charge such percentage fee as may periodically be fixed
          by the Attorney General pursuant to 28 U.S.C. 586(E); and it is further

          ORDERED that the debtor shall pay John M. Hauber, Trustee as follows: $1,148.00 per
          month for 60 months ($68,880.00) commencing February 16, 2019.

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